      Case 3:19-cv-01211-S Document 1 Filed 05/20/19                Page 1 of 5 PageID 1


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BRANDON BONEY AND CRYSTAL                     §
JONES-BONEY, INDIVIDUALLY                     §
AND AS NEXT FRIEND OF BLAZE                   §
BONEY,                                        §
     Plaintiffs,                              §
                                              §
vs.                                           §        CIVIL ACTION NO. ______________
                                              §
LOWE’S HOME CENTERS, LLC                      §
    Defendant.                                §

                                   NOTICE OF REMOVAL

       Defendant Lowe’s Home Centers, LLC, (“Defendant” or “LHC”), pursuant to 28 U.S.C.

§§ 1441 and 1446, gives notice that it hereby removes the case styled Brandon Boney and Crystal

Jones-Boney, Individually and as Next Friend of Blaze Boney, filed in the 101st Judicial District

Court, Dallas County, Texas, to the United States District Court for the Northern District of Texas,

Dallas Division. As grounds for removal, LHC respectfully shows the Court as follows:

                                   A. STATE COURT ACTION

         1.    The State Court Action was initiated by Plaintiff Blaze Boney (a minor) filing

Plaintiff’s Original Petition (“Original Petition”) on May 9, 2018, in the 101st Judicial District

Court, Dallas County, Texas Cause No. DC-18-06098 (the “State Court Action”). In that action,

Plaintiff asserted a claim of negligence against LHC and sought to recover unspecified damages

allegedly sustained as a result of the alleged conduct of LHC.

        2.     Plaintiff first served the State Court Action on LHC on July 12, 2018.

        3.     Defendant filed its Original Answer on July 26, 2018.

        4.     On September 10, 2018, Plaintiffs Brandon Boney and Crystal Jones-Boney, as

Next Friend of Blaze Boney (“Plaintiffs”) filed Plaintiff’s Amended Petition, which, like the

NOTICE OF REMOVAL                                                                           PAGE 1
     Case 3:19-cv-01211-S Document 1 Filed 05/20/19                 Page 2 of 5 PageID 2


Original Petition, asserted a claim of negligence against LHC and sought to recover unspecified

damages allegedly sustained as a result of the alleged conduct of LHC.

        5.     On May 17, 2019, Plaintiffs filed Plaintiffs’ Second Amended Petition, Request

for a Jury Trial, and Request for Disclosure, which added a new claim of gross negligence

along with the original claim of negligence against LHC and, for the first time, alleged

damages in an amount “more than $100,000.00, but less than $200,000.00.”

        6.     Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies each

and every allegation contained in Plaintiffs’ Second Amended Petition and demands strict proof

of Plaintiffs’ allegations against Defendant by a preponderance of the evidence.

                            B.     REQUIREMENTS FOR REMOVAL

        7.     An Index of all documents filed in state court is attached as Exhibit A. The state

court documents are attached as Exhibits B – G-1.

        8.     While the Original Petition and Amended Petitions filed in this action failed to

allege amounts in controversy, Plaintiffs’ Second Amended Petition filed on May 17, 2019 for the

first time alleged an amount in controversy in excess of $75,000.00. Consequently, this Notice

of Removal is timely filed pursuant to 28 U.S.C. § 1446(b). As set for in more detail below, this

Court has original jurisdiction of this matter based on diversity jurisdiction pursuant to 28 U.S.C

§1332(a).

        9.     As required by 28 U.S.C. § 1446(b), LHC, the removing party, will promptly give

all parties written notice of the filing of this Notice of Removal and will promptly file a copy of

this Notice of Removal with the Clerk of the 101st Judicial District Court in Dallas County, Texas,

where the State Court Action is currently pending.




NOTICE OF REMOVAL                                                                          PAGE 2
       Case 3:19-cv-01211-S Document 1 Filed 05/20/19                            Page 3 of 5 PageID 3


                                    C.      THE COURT HAS JURISDICTION

          10.     The District Court of the United States has original jurisdiction over this civil action

because there is complete diversity of citizenship between the parties and the matter in controversy

exceeds the sum of $75,000.00, exclusive of interest and costs. 28 U.S.C. §1332(a)(1).

          11.     Plaintiffs are natural persons. Plaintiffs’ Second Amended Petition in this case

states that “Plaintiffs are individuals residing at 168 Dry Wall Ct, Royse City, Texas 75189” and

therefore, on information and belief, Plaintiffs are domiciled in the State of Texas, and are citizens

of Texas for the purposes of diversity. 1

          12.     The sole member of Lowe’s Home Centers, LLC is Lowe’s Companies, Inc.

(“Lowe’s Companies”). Lowe’s Companies is a corporation that is a citizen of North Carolina

because it is incorporated in North Carolina and it maintains its principal place of business in North

Carolina. There are no other members of LHC. Therefore, LHC is a citizen of North Carolina

because its sole member, Lowe’s Companies, is a citizen of North Carolina.

          13.     In the State Court Action, Plaintiffs’ Second Amended Petition in Section VIII

paragraph 1 states that Plaintiffs seek monetary relief in an amount more than $100,000.00, but

less than $200,000.00. Pursuant to 28 U.S.C § 1446(c)(2), the foregoing amount sought by

Plaintiffs in their Second Amended Petition is deemed to be the amount in controversy for purposes

of this Notice. 2

                                                    D.      PRAYER

          WHEREFORE, pursuant to 28 U.S.C. § 1332(a)(1), 1367, 1441, and 1446, LHC prays



1
 Pl.’s Pet., at 1.
2
 See Neilson v. Williams, No. 11-CV228, 2013 WL 1180960, at *1 (E.D. Tex. Jan. 29, 2013) (stating that for diversity
purposes, “[i]t has long been recognized that ‘unless the law gives a different rule, the sum claimed by the plaintiff
controls if the claim is apparently made in good faith.”) (citing St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250,
1253, & n.6 (5th Cir. 1998)).

NOTICE OF REMOVAL                                                                                            PAGE 3
      Case 3:19-cv-01211-S Document 1 Filed 05/20/19                  Page 4 of 5 PageID 4


that the United States District Court for the Northern District of Texas, Dallas Division, accept this

Notice of Removal, assume jurisdiction of this cause, and issue such further orders and process as

may be necessary to bring before it all parties necessary for the trial hereof.

        Date: May 20, 2019

                                                   Respectfully submitted,

                                                   /s/ Melanie K. Okon
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                                                   COUNSEL FOR DEFENDANT
                                                   LOWE’S HOME CENTERS, LLC


                                      CERTIFICATE OF SERVICE

         I hereby certify that on this the 20th day of May 2019, a true and correct copy of the above
and foregoing has been served upon the following counsel, in accordance with the Federal Rules
of Civil Procedure.

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NOTICE OF REMOVAL                                                                             PAGE 4
     Case 3:19-cv-01211-S Document 1 Filed 05/20/19      Page 5 of 5 PageID 5


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APPOINTED BY STATE COURT
ATTORNEY FOR PLAINTIFF


                                 __/s/ Melanie K. Okon
                                 Melanie K. Okon




NOTICE OF REMOVAL                                                          PAGE 5
